               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

FLORIDA DECIDES HEALTHCARE,
INC., et al.,

Plaintiffs-Intervenors,
                                             Case No. 4:25-cv-211-MW-MAF
                     v.

CORD BYRD, in his official capacity as
Secretary of State of Florida, et al.,

Defendants.


               PLAINTIFFS’ SUPPLEMENTAL BRIEF
           REGARDING THE EFFECT OF TRUMP v. CASA, INC.

      Per the Court’s instruction on June 30, 2025, Plaintiffs file this supplemental

brief regarding the effect, if any, of Trump v. CASA, Inc., 606 U.S. __ (2025), on

this litigation. See ECF No. 277 at 2.

      CASA presents no impediment to the relief Plaintiffs request. For the purposes

of the pending preliminary injunction motions, Plaintiffs only seek to enjoin

Defendants from enforcing challenged provisions against Plaintiffs themselves, their

members, and those who collect, deliver, or otherwise physically possess the sponsor

Plaintiffs’ petitions or seek to do so. See, e.g., ECF No. 169-1 at 3 n.1 (requesting

“an injunction barring Defendants from applying these provisions as to Plaintiffs and

those who circulate petitions for or with Plaintiffs”). CASA addressed whether
district courts may enjoin “enforcement of a law or policy against anyone.” 606 U.S.

__ (slip op., at 1). And it answered that question in the negative where such

injunction is unnecessary to provide “complete relief” to the parties. Id. at 26. That

issue is not raised here. That should end the inquiry.

      CASA did, however, reaffirm the “complete relief” principle that courts in

equity can fashion remedies that “advantag[e] nonparties” if necessary to fully

redress plaintiffs’ injuries. Id. at 16 (quoting Trump v. Hawaii, 585 U.S. 667, 717

(2018) (Thomas, J., concurring)). That principle, the Supreme Court held, “has deep

roots in equity.” Id. at 15. It has deep roots in this Circuit’s precedents, as well. See,

e.g., Georgia v. President of the U.S., 46 F.4th 1283, 1303 (11th Cir. 2022)

(considering whether injunction was “necessary to provide complete relief to the

plaintiffs” (quotations omitted)); United States v. Ramsey, 331 F.2d 824, 826 (5th

Cir. 1964) (considering whether injunction “afforded” “full and complete relief” to

plaintiff). Given that principle, CASA acknowledged that if a plaintiff’s harm stems

from enforcement of a law or policy against nonparties, complete relief may require

an injunction barring enforcement against those nonparties. See CASA, 606 U.S. __

(slip op., at 18–19) (leaving district courts to determine whether the “blanket ban on

the enforcement of the Executive Order” that the States requested was “appropriate”

to redress their “financial injuries and the administrative burdens”).




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      Plaintiffs seek relief that is appropriately tailored under CASA: an injunction

barring Defendants from enforcing the challenged provisions only against Plaintiffs,

their members, and those who circulate the sponsor Plaintiffs’ petitions. See ECF

No. 256 at 17–18.1 Here, the “suing plaintiff[s]” to whom “the injunction’s

protection extends” would include only the Plaintiffs before the Court, CASA, 606

U.S. __ (slip op., at 16–17), and Plaintiffs only seek the relief necessary to remedy

their own harms completely, not those of nonparties.

       Complete relief here requires enjoining Defendants from enforcing the

challenged provisions not just against Plaintiffs themselves but against anyone—

paid or otherwise—who collects, delivers, or otherwise physically possesses signed

petitions in support of the sponsor Plaintiffs’ amendments.2 That relief is necessary


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  Although not necessary for this Court to address now, “complete relief” in the
context of overbreadth challenges likely will be broader because of the public
importance in protecting free speech and expression. See Griffin v. HM Fla.-ORL,
LLC, 144 S. Ct. 1 (2023) (statement of Kavanagh, J. and Barrett, J.) (Whether a
district court can “enjoin the government from enforcing that law against non-parties
to the litigation is an important question that could warrant our review in the future.
But the issue arises here in the context of a First Amendment overbreadth challenge,
which presents its own doctrinal complexities about the scope of relief.”); Coates v.
City of Cincinnati, 402 U.S. 611, 620 (1971) (White, J., dissenting) (“[T]he
otherwise continued existence of the statute in unnarrowed form would tend to
suppress constitutionally protected rights.”).
2
  This case involves three statewide ballot initiatives for which volunteers and
circulators can—and likely must—circulate petitions statewide to get on the ballot.
See, e.g., Fla. Const. Art. XI Sec. 3; ECF No. 170-1 ¶ 13 (“We currently employ 250
paid petition circulators throughout the State of Florida, with plans to scale up to
3,000 petition circulators by September 2025.”); ECF No. 168-2 ¶¶ 10–11 (FDH

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to provide Plaintiffs’ complete relief because the challenged provisions’ restrictions

on petition circulation harms the sponsor and non-sponsor organizational Plaintiffs’

ability to get out their message, encourage association with them, and collect

petitions, and can result in fines to the sponsor Plaintiffs. See, e.g., Fla. Stat. §

100.371(4)(g). While this relief may advantage nonparties, that incidental benefit

does not amount to “universal” relief, in part because only parties to the suit, and not

incidental beneficiaries, can enforce the injunction if it is violated. See CASA, 606

U.S. __ (slip op., at 16–17).

      Indeed, any relief to a plaintiff raising a First Amendment associational claim

(like the sponsor Plaintiffs) may by necessity provide an incidental benefit to third

parties. When, for example, a court says that an organization cannot be required to

disclose its donors, the donors benefit too. See Ams. for Prosperity Found. v. Bonta,

594 U.S. 595, 605, 618 (2021) (rejecting argument that relief should have been

limited to the parties because the “risk of a chilling effect on association is enough”

to justify broad relief). When a court says that a state cannot “restrict the size of




partners with about 75 grassroots organizations and has about 50 hubs across
Florida); id. ¶ 8 (explaining that “anyone can volunteer from anywhere”); ECF No.
256 at 17–18 (describing RTCW’s statewide operations); ECF No. 91-1 ¶¶ 5–7
(Smart & Safe has submitted signed petitions to Supervisors of Elections in every
county in Florida). Relief for the Plaintiffs would thus naturally apply throughout
the state. CASA, 606 U.S. at ___ (slip op., at 2 n.1) (explaining that courts’ authority
to issue an “injunction” is bounded not by “where it applies, but whom it protects”).

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contributions to a single political committee in a referendum election,” the donors

again benefit. See Let’s Help Fla. v. McCrary, 621 F.2d 195, 197 (5th Cir. 1980),

aff’d sub nom. Firestone v. Let’s Help Fla., 454 U.S. 1130 (1982). When a court

says that a state cannot force a political party to hold a closed primary, voters who

are not party members benefit. See Tashjian v. Republican Party of Conn., 479 U.S.

208, 211 (1986). And when a court says that a state cannot prosecute the “proponents

of an amendment to the Colorado Constitution” for paying circulators, the circulators

also benefit. See Meyer v. Grant, 486 U.S. 414, 417 (1988).

      In short, an injunction that incidentally benefits nonparties—but that is

necessary to provide complete relief to parties—is plainly permissible under CASA.

And because the sponsor Plaintiffs seek to speak with, and associate with, others

(including the organizational and individual Plaintiffs) in support of their initiative,

the Court cannot grant “complete” relief to Plaintiffs under the First Amendment

without incidental benefits to others. The relief Plaintiffs seek is thus permissible

under CASA.

      Specifically, and consistent with these principles, Plaintiffs therefore request

an injunction that:

      1. Bars the Secretary from enforcing Fla. Stat. § 100.371(4)(g), which

          imposes a $50,000 fine on petition sponsors who knowingly permit




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         nonresidents to collect petition forms in violation of eligibility and

         registration requirements, against the sponsor Plaintiffs.

      2. Bars the Secretary from enforcing Fla. Stat. § 100.371(4)(g), which

         imposes a $50,000 fine on petition sponsors who knowingly permit

         volunteers3 to collect petition forms in violation of eligibility and

         registration requirements, against the sponsor Plaintiffs.

      3. Bars the Secretary from enforcing Fla. Stat. § 100.371(4)(g), which

         imposes a $50,000 fine on petition sponsors who knowingly permit

         noncitizens to collect petition forms in violation of eligibility and

         registration requirements, against the sponsor Plaintiffs.

      4. Bars the Secretary from enforcing Fla. Stat. § 100.371(4)(b)3, which

         prohibits nonresidents from registering as petition circulators, and Fla.

         Stat. § 100.371(4)(c)8, which requires applicants to disclose if they are

         Florida residents, against anyone who circulates the sponsor Plaintiffs’

         petition forms, including “personal use” petition forms.

      5. Bars the Secretary from enforcing Fla. Stat. § 100.371(4)(b)(2), which

         prohibits noncitizens from registering as petition circulators, and Fla. Stat.

         § 100.371(4)(c)(7), which requires applicants to disclose if they are U.S.


3
 In this context, Plaintiffs use “volunteer” to mean a person who is not compensated
for the purpose of circulating petitions. Compare, e.g., Fla. Stat. § 100.371(5).

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   citizens, against anyone who circulates the sponsor Plaintiffs petitions

   forms, including “personal use” petition forms.

6. Bars the Secretary and the Supervisors from enforcing Fla. Stat. §

   100.371(14)(h), which invalidates signed petitions submitted by an

   ineligible and/or unregistered petition circulator (specifically, unregistered

   volunteers, nonresidents, and noncitizens) as to any of the sponsor

   Plaintiffs’ petition forms.

7. Otherwise bar the Secretary, Attorney General, and State Attorneys from

   undertaking any enforcement action regarding an alleged violation of Fla.

   Stat. § 100.371(4)(a), which requires that, as of July 1, 2025, a person

   cannot “collect, physically possess, or deliver more than 25 signed

   petitions in addition to his or her own signed petition form or a signed

   petition form belong to an immediate family member” without registering

   with the Secretary, and from enforcing Fla. Stat. § 97.021(28), which

   includes uncompensated individuals within the definition of petition

   circulators, as to any unregistered person circulating petitions on a

   volunteer basis, as to the sponsor Plaintiffs’ petitions.

8. Bars the Attorney General and State Attorneys from enforcing Fla. Stat. §

   104.187, which makes any violation of § 100.371(4)(a) a second-degree

   misdemeanor, and Fla. Stat. § 104.188(2), which makes the same conduct


                                    7
  a third-degree felony, against any nonresident, noncitizen, or unregistered

  volunteer circulators who circulate the sponsor Plaintiffs’ petitions.

9. Bars the Secretary and the Supervisors from enforcing Ch. 2025-21, §

  20(1), at 28, Laws of Fla., which provides that “a signed petition form may

  not be verified between July 1, 2025, and September 30, 2025,” against

  Plaintiff FDH’s petitions.

10.Bars the Secretary from enforcing Fla. Stat. § 100.371(3)(d), which

  provides that a petition form distributed by a petition circulator must

  include a Petition Circulator’s Affidavit including certain information

  regarding the circulator, against Plaintiffs RTCW, LWVFL, and LULAC,

  and individual Plaintiff Martin.

11.Bars the Secretary from enforcing Fla. Stat. § 100.371(3)(e), which

  provides that a person other than a petition circulator must distribute

  petitions using a prescribed “personal use” petition, against Plaintiffs

  LWVFL and LULAC.




                                     8
DATED: July 3, 2025                        Respectfully submitted,

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                           CERTIFICATE OF SERVICE

      I hereby certify that on July 3, 2025, I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system, which will then send a notification

of such filing to the counsel of record in this case.


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                                           12
